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                                                                               FILED UNDER SEAL
                       IN THE UNITED STATES DISTRICT COURT

                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                                 CRIMINAL NO. 19.

                v                                        DATE FILED:

JOHN KRAWCZYK                                            VIOLATIONS:
                                                         18 U.S.C. $ 371 (conspiracy to pay kickbacks
                                                         in connection with a federal health care
                                                         benefit program - I count)
                                                         42 U.S.C. $ 1320a-7b(bX2XB) (kickback
                                                         payment in connection with a federal health
                                                         care benefit program - I count)
                                                         18 U.S.C. $ 2 (aiding and abetting)
                                                         Notice of forfeiture

                                     INFOR              ATION
                                          COUNT ONE

                               (Conspiracy to Pay Kickbacks in
                    Connection with a Federal Health Care Benefit Program)

THE UNITED STATES ATTORNEY CHARGES THAT:

       At all times material to this Information:

       The Medicare Prosram and Durable Medical Equinment (Generallv)

       l.       The Medicare Program ("Medicare") was a federal health care benefits program

providing benefits to persons who were sixty-five years of age or older, or disabled. Medicare

was administered by the United States Department of Health and Human Services              ("HHS")

through its agency, the Centers for Medicare & Medicaid Services ("CMS"). Medicare was a

.oFederal health care program" as defined in   Title 42,tJrited      States Code, Section 1320a-7b(f)


and a "health care benefit program" as defined in       Title   18, United States Code, Section 24(b).


       2.       Medicare was subdivided into multiple Parts. Medicare Part A covered health

services provided by hospitals, skilled nursing facilities, hospices, and home health agencies.


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Medicare Part B covered physician services and outpatient care, including an individual's access

to durable medical equipment ("DME"), such as orthotic braces. Parts A and B were known as

the "original fee-for-seryice" Medicare program, in which Medicare paid health care providers

fees for services rendered to beneficiaries.

       3.      Specifically, Part B of the Medicare program was a medical insurance program

that covered, among other things, the ordering of DME, such as Off-The-Shelf ("OTS") knee

braces, back braces, shoulder braces, and wrist braces (collectively, "braces"). OTS braces

require minimal self-adjustment for appropriate use and do not require expertise in trimming,

bending, molding, assembling, or customizing to fit to the individual.

       4.      DME companies, physicians, and other healthcare providers that provided

services to Medicare beneficiaries were referred to as Medicare   "providers." To participate in

Medicare, providers were required to submit an application in which the providers agreed to

comply with all Medicare-related laws and regulations. If Medicare approved a provider's

application, Medicare assigned the provider a Medicare "provider number." A healthcare

provider with a Medicare provider number could file claims with Medicare to obtain

reimbursement for services rendered to beneficiaries.

        5.     Enrolled Medicare providers agreed to abide by the policies and procedures, rules,

and regulations governing reimbursement. To receive Medicare funds, enrolled providers were

required to abide by all Medicare-related laws and regulations, including the Anti-Kickback

Statute, which proscribes the offering, payment, solicitation, or receipt of any remuneration to

induce the referral of a patient or the purchase, lease, order, or arangement therefor, of any

good, facility, service, or item for which payment may be made by a federal health care progftIm.




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Providers were given access to Medicare manuals and services bulletins describing billing

procedures, rules, and regulations.

       6.        Medicare reimbursed DME companies and other healthcare providers for services

rendered to beneficiaries. To receive payment,from Medicare, providers submitted or caused the

submission of claims to Medicare, either directly or through a billing company.

       7.        A Medicare claim for DME reimbursement was required to set forth, among other

things, the beneficiary's name and unique Medicare identification number, the equipment

provided to the beneficiary, the date the equipment was provided, the cost of the equipment, and

the name and unique physician identification number of the physician who prescribed or ordered

the equipment.

        8.       A claim for DME submitted to Medicare qualified for reimbursement only if it

were medically necessary to the treatment of the beneficiary's illness or injury and prescribed by

the beneficiary's physician.

        The Defendant. Relevant Individuals' and Relevant Entities

        g.       Defendant JOHN KRAWCZYK was a resident of Trevose, Pennsylvania within

the Eastern District of Pennsylvania. Defendant KRAWCZYK was a co-owner and operator                of

three DME companies located in Trevose, Pennsylvania-Florida Health Care Services, Inc.,

Orthotic Care,LLC, and Mark A Miller & Associates, Inc.

        10.      Individual   1,   who is known to the United States Attorney, was a co-owner and

operator of Florida Health Care Services, Inc., Orthotic Care, LLC, and Mark      A Miller &

Associates, Inc.




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        1   1.   Individual 2, who is known to the United States Attorney, was the founder, part-

owner, and manager of Company A, Company B, and Company C, which operated international

call centers.

        12.      Company D was a limited liability company duly organized and existing under

the laws of the Commonwealth of Pennsylvania. It was owned or operated by defendant JOHN

KRAWCZYK and Individual I and utilized to make payments to Company A, Company B, and

Company C.

        The Conspiracy

        13   .   From at least in or about September 20 I 5 until in or about December 2018, in the

Eastern District of Pennsylvania, and elsewhere, defendant

                                       JOHN KRAWCZYK

conspired and agreed, together with Individual 1, Individual 2, and others known and unknown

to the United States Attorney, to knowingly and willfully offer and pay, and cause to be offered

and paid, remuneration, that is, kickbacks, directly and indirectly, overtly and covertly, to any

person to induce such person to purchase, lease, order, and arrange for and recommend

purchasing, leasing, and ordering any good, facility, service, or item for which payment may be

made in whole or in part under a Federal health care program, in violation of Title    42,United

States Code, Section 1320a-7b(bX2XB).

        Purpose of the Conspiracv

         14.     It was a purpose of the conspiracy for defendant JOHN KRAWCZYK and his co-

conspirators to unlawfully enrich themselves    by: (a) offering   and paying kickbacks in return for

completed DME orders; (b) submitting and causing the submission of claims to Medicare for

completed DME orders that were obtained through the payments of kickbacks and therefore not



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eligible for Medicare reimbursement; and (c) diverting proceeds of the scheme for the personal

use and benefit   ofthe defendant and his co-conspirators.

       Manner and Means of the ConsPiracY

       15.        Defendant JOHN KRAWCZYK and Individual            I   falsely certified to Medicare

that they, as well as Florida Health Care Services,Inc., Orthotic Care, LLC, and Mark A Miller

& Associates, Inc.   as   providers in the Medicare program, would abide by the Medicare laws,

regulations, and program instructions, including the Anti-Kickback Statute.

        16.       Defendant JOHN KRAWCZYK and Individual 1, through Florida Health Care

Services, Inc., Orthotic Care, LLC, and Mark       A Miller & Associates, Inc., obtained completed

prescriptions for braces for Medicare beneficiaries by paying and causing the payment          of

kickbacks via international wire transfers to Individual2.

        17.       Defendant JOHN KRAWCZYK and Individual 1 utilized sham marketing and

business process outsourcing agreements in which          KRAWCZYK and Individual        1 purported to


be purchasing "raw leads" from      Indivi$:rrl2,when in fact KRAWCZYK and Individual               1   were


purchasing completed brace orders from Individual2.

        18.       As a result of their payment of kickbacks to Individual2, defendant JOHN

KRAWCZYK and Individual           1, through   Florida Health Care Services, Inc., Orthotic Care, LLC,

and Mark   A Miller & Associates, Inc., submitted or caused the submission of more than




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$7,705,168 in DME claims to Medicare, which resulted in a net benefit conferred   of

approximately $4,003,248.

       Overt Acts

       In furtherance of the conspiracy, and to accomplish its object and purpose, the defendant

and his co-conspirators committed and caused to be committed the following overt acts, among

others, in the Eastern District of Pennsylvania, and elsewhere:

       1.      On or about June 23, 2016, defendant JOHN KRAWCZYK and Individual          1



initiated or sent a wire transfer from Orthotic Care, LLC's bank account ending 6001 to

Company B's bank account ending 1016 in the amount of approximately $56,977.50 in kickback

payments.

       2.      On or about June29,20l6, defendant JOHN KRAWCZYK and Individual t

initiated or sent a wire transfer from Orthotic Care, LLC's bank account ending 6001 to

Company B's bank account ending 1016 in the amount of approximately $56,977.50 in kickback

payments.

       3.      On or about August 8,2016, defendant JOHN KRAWCZYK and Individual              1



initiated or sent a wire transfer from Orthotic Care, LLC's bank account ending 6001 to

Company B's bank account ending 1016 in the amount of approximately $61,537 .50 in kickback

payments.




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       4.      On or about May 15, 2018, defendant JOHN KRAWCZYK and Individual I

initiated or sent a wire transfer from Florida Health Care Services, Inc.'s bank account ending

3269 to Company   A's bank account ending 0843 in the amount of approximately $10,500.

               All in violation of Title   18, United States Code, Section 371.




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                                             COUNT TWO

                                  (Payment of a Kickback in
                    Connection with a Federal Health Care Benefit Program)

THE UNITED STATES ATTORNEY FURTHER CHARGES THAT:

         At all times material to this Information:

         1.      Paragraphs l-12 and 15- 18 of Count One are incorporated here.

         2.      On or about May 15, 2018, in the Eastern District of Pennsylvania and elsewhere,

defendant

                                        JOHN KRAWCZYK

knowingly and willfully offered to pay, paid, and caused to be offered and paid, and aided and

abetted the payment of, remuneration, that is, kickbacks, directly and indirectly, overtly and

covertly, in the approximate amount of $10,500 via intemational wire transfer from the

originating account of FHCS ending 3269 to Company A's bank account ending 0843, belonging

to Individual2,to induce such person to purchase, lease, order, and arrange for and recommend

the purchasing, leasing, and ordering of any good, facility, service, and item, for which payment

may be made in whole or in part under a Federal health care program, namely, Medicare.

                 All in violation of Title 42,IJnited     States Code, Section 1320a-7b(b)(2)(B), and

Title   18, United States Code, Section 2.




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                                   NOTICE OF FORFEITURE

THE UNITED STATES ATTORNEY FURTHER CHARGES THAT:

               l.      As a result of the violations of Title 18, United States Code, Section 371,

and Title 42,tJnited States Code, Section 1320a-7b(bx2)(B), set forth in this Information,

defendant

                                      JOHNK KRAWCZYK

shall forfeit to the United States of America any property,real or personal, that constitutes, or is

derived, directly or indirectly, from the gross proceeds traceable to the commission of the

offense, including, but not limited to, the sum of $91 5,200.

               2.      If any of the property subject to forfeiture,   as a result   of any act or

omission of the defendant:

                       (a)      cannot be located upon the exercise ofdue diligence;

                        (b)     has been transferred or sold to, or deposited with, a third party;

                        (c)     has been placed beyond the jurisdiction of the Court;

                        (d)     has been substantially diminished in value; or

                        (e)     has been commingled with other property which cannot be divided

                                without difficulty;

it is the intent of the United States, pursuant to Title   18, United States Code, Section 982(b),


incorporating Title 21, United States Code, Section 853(p), to seek forfeiture of any other

property of the defendant up to the value of the property subject to forfeiture.




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    All pursuant to Title   18, United States Code, Section 982(a)(7).




                               q                M. MCSWAIN
                                    United States Attorney
                                    Eastern District of Pennsylvania




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